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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 UNITED STATES OF AMERICA

 v.                                                  No. 4:22-CR-00612-S

 EDWARD CONSTANTINESCU,
 PERRY “PJ” MATLOCK,
 JOHN RYBARCZYK,
 GARY DEEL,
 STEFAN HRVATIN,
 TOM COOPERMAN,
 MITCHELL HENNESSEY,
 DANIEL KNIGHT.


 DEFENDANTS CONSTANTINESCU’S, MATLOCK’S, AND HRVATIN’S NOTICE OF
    ADDITIONAL MATERIAL REFLECTING GOVERNMENT MISCONDUCT
             IN ANTICIPATION OF FEBRUARY 20 HEARING

       Defendants Edward Constantinescu, PJ Matlock, and Stefan Hrvatin, by and through their

undersigned counsel, respectfully submit this joint filing in anticipation of the February 20, 2024

hearing on Constantinescu’s motion (joined by Matlock and Hrvatin) for contempt based on the

government’s failure to search for and produce Brady material as required under the Court’s

September 12, 2023 order. Defendants submit these materials to call to the Court’s attention

additional egregious and ongoing misconduct by the government. As Defendants continue to

review materials that the government first disclosed in mid-January, they have identified several

significant issues that reflect a pattern of intentional misconduct designed to hide Brady material

and to materially alter trial evidence, including by removing exculpatory evidence and altering

data. In light of these problems, and in light of the problems set forth in Defendants’ Joint

Motion for Discovery Sanctions [ECF No. 531] and Defendant Matlock’s Motion to Exclude

Government’s Exhibit 70 [ECF No. 549], Defendants Constantinescu, Matlock, and Hrvatin

hereby request that the case be dismissed.


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    The Government Has Refused to Search for Brady Material in Meme Stock Materials But
               Continues to Rely on Meme Stock Evidence in Its Case in Chief

        1.       The government argues “generalized explanations of the broader ‘meme stock’

phenomenon simply have nothing to do with the elements of the offenses charged.”1 United

States’ Opp. to Def. Constantinescu’s Mot. to Continue at 7 [ECF 502]. Yet, at the time of this

representation, the government had already publicly filed an exhibit that includes several exhibits

related to Constantinescu’s trading of Meme Stocks and the profits he made trading them.

        2.       A review of the government’s January 2024 exhibits reflects that the government

intends to introduce at trial as “exhibits” video and audio excerpts related to GameStop (GME)

and NAKD, and Constantinescu’s profits derived from trading Meme Stocks, including AMC,

NAKD, SNDL, and GNUS. See, e.g., GX7D, GX7L, GX74, GX75, GX76, and GX 87.

        3.       For example, Government Exhibit 76 is a text-message chain from February 17,

2021, in which Constantinescu texts a screenshot of his trading account to show that he made

$6,719,219.41 in one day trading Meme Stock SNDL.

                                            Twitter Group Messages:
                                       Edward Constantinescu (@MrZackMorris),
                                          Perry "PJ" Matlock (@PJ_Matlock),
                                            Stefan Hrvatin (@LadeBackk),
                                          Tom Cooperman (@ohheytommy),
                                           Daniel Knight (@DipDeity), and
                                                   other individuals




                                                                         DOJ-TWITTER-0000000001_Reprocessed




1
 The government accuses Constantinescu of “painting the stocks at issue in this case as some amorphous set of
undefined “Meme Stocks.” Id. But as the government is aware, Constantinescu adopted the definition of Meme
Stock set forth in the Congressional Meme Stock Report and parroted by the SEC. The stocks in the Congressional
Meme Stock Report appear in the government’s exhibits during the exact time frame covered by the Congressional
Meme Stock Report.


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        4.     The trading of SNDL during this precise time period was expressly considered by

Congress and the stock was mentioned multiple times in the Congressional Meme Stock Report,

which found that––like GameStop (GME)––Robinhood had placed restrictions on transfer of

SNDL stock during this time period.

        5.     Likewise, Government Exhibits 7D and 7L purport to show a screen of a trader

(presumably SEC “whistleblower” H.B.) trading and discussing GME and NAKD on February

24, 2021. Dan Knight can be heard commenting on Constantinescu making over $2 million on

NAKD in a single day after GME prices had “stabilized.”

        6.     NAKD was mentioned nearly a dozen times in the Congressional Meme Stock

Report due to restrictions placed on transfers of that stock around this time period by TD

Ameritrade and other broker dealers. See generally Congressional Meme Stock Report, Ex. L to

Constantinescu’s Second Motion for Brady Materials [ECF No. 322-16].

        7.     The report provides the following definition of a meme stock:




Id. at 119.

        8.     In other words, NAKD is baked directly into the Congressional definition of

Meme Stock that gave rise to the SEC’s October 2021 Meme Stock Report, the underlying

materials of which the government continues to refuse to inspect for Brady material. These

Brady materials likely include internal SEC communications related to CEI (Count 14) and

DATS (Count 15) classifying them as Meme Stocks.




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        9.      It is worth noting that the government did not change its case in any way that

would alter its obligation to inspect SEC records and internal communications for Brady

material. And the government has already admitted that these Meme Stocks are “inextricably

intertwined” with the 20 charged counts. See United States’ Notice of Intent to File 404(b)

Evidence at 2 (“Thus, evidence of the [397] Episodes is intrinsic to, and inextricably intertwined

with, the charged scheme and conspiracy.”) [ECF No. 319]; Motion in Limine by Untied States at

8 (describing “episodes . . . before, during, and after . . . the substantive counts” as “intrinsic to,

and inextricably intertwined with, the charged counts”) [ECF No. 538]. Indeed, they

indisputably form the foundation of Count 1’s $114-million-profit figure, which appears to

include at least $70 million Constantinescu made trading Meme Stocks. The government did not

dismiss charges or change the charged time period in any way that would make these Meme

Stocks less intertwined with the charged conduct. Instead, the government has included multiple

trial “exhibits” referencing Constantinescu’s profits from trading these Meme Stocks while at the

same time misrepresenting to the Court that they need not search for Brady material because the

evidence is irrelevant.

  The Government Has Fabricated Evidence, Redacted Exculpatory Information From Its
 Exhibits, and Failed to Seek Brady Material From the SEC Related to an Individual Whose
                         Conversation It Wishes to Rely Upon at Trial

        10.     The governments’ trial exhibits, including the hundreds that were dumped on

defense counsel for the first time on January 19, 2024, cannot be trusted: they do not fairly or

accurately depict what the government claims they depict.

                              Example 1- Purported Twitter Messages

        11.     In August 2023, the government produced a trial exhibit that it marked as

Government Exhibit 113. The exhibit bears a bates number that the government used to




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designate data the government obtained via search warrant from Twitter and states that it is a

“Twitter Direct Message.” Last year, the exhibit looked like this:




       12.     The purported screenshot of the Twitter message is formatted as if it was sent

from Matlock’s phone in a blue bubble. Moreover, Defendant Matlock’s name (with his

nickname in quotation marks like in the case caption) has been inserted above the blue bubble,

and the date and time appears below the bubble. The Twitter search warrant data the government

produced to the Defendants in this case does not look anything like the above, and the

government does not have access to the original message from Matlock’s phone, meaning this

August 2023 “text message” was fabricated.

       13.     On January 19, 2024, the government produced for the first time a new exhibit,

now marked as Government Exhibit 70, which is described the same way as former Government

Exhibit 113 on the government’s new exhibit list. The government did not disclose to defense

counsel that it had changed significantly the information depicted in new Government Exhibit

70. This exhibit is also fabricated. The new version of this exhibit is marked with the exact

same bates label that purports to be data the government received from Twitter via a search

warrant, but the exhibit looks nothing like the previous Government Exhibit 113. The new



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Government Exhibit 113 contains more of the message exchange, has three columns, displays the

username of one user (Defendant Matlock) but not the other display name of the other Twitter

user (“Individual-1”), and redacts several messages in the exchange:


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       14.    It is clear from a review of the material produced in discovery that neither former

Government Exhibit 113 nor current Government Exhibit 70 fairly or accurately depicts the data

the government obtained from Twitter in response to a search warrant. An accurate excerpt from

which this evidence was fabricated appears as follows (see Ex. E):




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       15.       The government has now materially altered its original evidence in several ways,

notwithstanding its decision to include the bates label on the exhibit to suggest that this exhibit

came from Twitter when it instead was created by the government:

             •   The government changed the columns from the original data and
                 rearranged the order of the columns, presumably to appear more
                 visually pleasing and helpful to the government;

             •   The government changed the sender and recipient IDs, altering what
                 the data reflects, to “@PJ_Matlock” but kept anonymous the ID of
                 the other user with whom defendant Matlock purportedly exchanged
                 messages and for whom the SEC likely has related Brady material;
                 and

             •   The government altered the time displayed for each message sent.

       16.       The government’s redactions are equally troubling. See Tex. R. Disc. Prof’l

Cond. 3.04. The conversation concerns CEI specifically, not pump and dumps generally.

Matlock says: “if you think [Constantinescu] is responsible for CEI going from 40c to 4.85 just

based off his followers and tweets, that’s just crazy” and that “its only called a pump and dump

because some short company posted a short report on it and it tanked.” In other words, the

government redacted Matlock observing that the reason CEI’s stock price moved was not

because Constantinescu was engaging in a pump and dump, but instead because a hedge fund

shorting the stock published a report into the market which, in turn, caused the stock price to

plummet to the benefit of the hedge fund shorting the stock. The government also redacted the

exculpatory message where Matlock explained that the stock was being “manipulated both

directions” but not by “one person’s [Constantinescu’s] tweets.” The government also redacted

Matlock’s highly relevant, exculpatory message in response reflecting both a lack of intent and a

lack of conspiracy: “I don’t believe this was fraud. This wasn’t some planned pump and dump

scheme . . . I never played CEI other than quick scalps . . . so I don’t have an opinion of the

stock.” (emphasis added).


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       17.     The government’s redactions materially change the tenor and meaning of

Defendant Matlock’s words in a misleading way. Government Exhibit 70 reads as if Matlock is

providing the definition of a pump and dump, and then agreeing that such conduct is securities

fraud. As highlighted above, that is completely different from the actual conversation. In other

words, the government has fabricated evidence by creating a document and then removing

exculpatory communications to render the appearance that the statement is inculpatory.

       18.     As critical, it is highly likely that the government has not properly searched for

Brady communications related to Individual-1 given its opposition brief asserts that the

information sought by Constantinescu is irrelevant. Its opposition fails to specifically address

Individual-1 at all. Yet, the undersigned counsel is aware of the identity of Individual-1 and

knows that Individual-1 has a relationship to SEC, which may be discussed further in camera.

Based on a review of messages that Individual-1 exchanged with several Defendants in this case,

the undersigned believes it is likely that the SEC and/or DOJ has communications with

Individual-1 that would constitute Brady material.

       19.     On September 20, 2023, Constantinescu sent a letter to the government following

the Court’s September 12, 2023 Order directing the government to produce Brady material in the

possession of the SEC and FINRA. Constantinescu specifically requested that the government

search all “communications with [Individual-1] and/or their lawyers or agents concerning any of

the stocks at issue” in the possession, custody, or control of the SEC or FINRA for Brady

material. The government failed to do so and now attempts to introduce as an exhibit a

fabricated document containing communications with Individual-1.




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                                     Example 2- Purported Twitter Profiles

         20.       As highlighted in Defendants’ Joint Motion for Discovery Sanctions, the

government has also altered the Defendants’ Twitter profiles to scrub them of exculpatory

information. See Joint Mot. for Disc. Sanctions at 4–7 (walking through the government’s

fabricated exhibits purporting to be Defendant Hennessey’s Twitter profile) [ECF No. 531]. As

set forth more fully in that motion, the government created a Twitter profile that does not exist in

its discovery production (or on Twitter) and omits the following exculpatory disclaimer that

appeared on Defendant Hennessey’s Twitter profile:

               20ish~ All tweets are MY ideas and opinions not advice. I actively
               trade positions & could be buying or selling any stock mentioned at
               any time.

See id. at 7.

         21.       This was not a mistake. See Super. Ind. ¶ 1 (alleging Defendants committed

securities fraud because they “concealed their intent to sell” from their Twitter followers) [ECF

No. 134]; United States’ Opp. to Motion to Dismiss Ind. at 16 (“Defendant’s [sic] privately

harbored a fraudulent intent that was contrary to their public display––they intended to sell the

stock . . . .”) [ECF No. 295]. Like the example set forth in the Defendants’ Joint Motion for

Discovery Sanctions, the government affixed the same bates label onto several exhibits

purporting to be data from Twitter reflecting the Defendants’ Twitter profiles, but its January 19,

2024 exhibits removed the disclaimers that all followers would have seen if they looked at any of

the Defendants’ posts, including “pinned” posts by Constantinescu indicating he did “not post

sells.”2 For example, Government Exhibit 280 purports to be a fair and accurate copy of

Defendant Matlock’s Twitter “handle identifier”:


2
 A “pinned” Tweet or post stays at the top of a user’s profile so that it is one of the first things any visitor to the
profile sees.


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       22.     But, like Defendant Hennessey, during all relevant times, Defendant Matlock’s

profile contained disclaimers like the one depicted below, indicating that his “posts are not

recommendation to buy or sell any security”:




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 The Government is Aware of a Significant Problem with the Timestamps of Its Evidence and
          Continues to Fail to Disclose the Problem and What Has Been Affected

         23.    In August 2023 (on the eve of the last trial setting), the government produced to

defense counsel an email dated September 27, 2022, from Special Agent Joseph Varani (a

testifying government witness) to prosecutor Scott Armstrong. In the email, Special Agent

Varani warned Armstrong that the forensic tool the agent had used to process data produced by

Twitter resulted in “some discrepancies in the timestamps of some tweets.” (See Ex. A).

Notwithstanding the July 7, 2023 deadline to produce Giglio and Brady material, this email was

the first time the government disclosed to the defense that there was a problem with the integrity

of some of the data the government had produced to defense counsel in this case––a full year

after receiving this Brady material, on the eve of trial, buried in a substantial document

production.

         24.    At the hearing in this case on September 7, 2023, defense counsel raised to the

Court that the government had only recently disclosed this email to defense counsel and the

defense needed additional time to understand the significance of the timestamp issue compared

against the government’s trial exhibits. See Sept. 7, 2023 Hr’g Tr. at 21–22.

         25.    A problem with the integrity of the electronic data the government produced in

discovery that affects the displayed timestamps of social media messages is Brady material and

the government had an independent obligation to disclose this information as soon as it became

aware of a problem. But the government did not. On September 13, 2023, Constantinescu’s

counsel requested that the government disclose the following information about the timestamp

issue:

         1. Disclose the precise issue that the Axiom tool created with the Twitter data
            and the timestamps.




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       2. Identify each piece of discovery (if any) that you produced that was generated
          by the Axiom tool.
       3. Identify each item that any of your testifying witnesses relied upon that was
          generated by the Axiom tool.
       4. Disclose whether Axiom was used to export or analyze data you received
          from Discord.
       5. Identify any other records in the government’s productions that was generated
          using the Axiom tool.
(see Ex. B):
       26.     The government ignored the September 13, 2023 letter for several weeks. On

October 3, 2023, Assistant Chief Armstrong responded with the following:

       I have no reason to believe any files are “affected.” But I’m not going to spend my
       time going through discovery to run down an issue that will not be relevant at trial.
       If you would like to spend your time doing that, you may and have all the
       information at your disposal to do so.

(See Ex. C).

       27.     On January 19, 2024, the government produced to defense counsel 54 new Excel

tables prepared by its expert witness Garibotti and a “supplemental” disclosure. The

supplemental disclosure stated: “Previously, due to a difference in how the data was processed,

the timestamps of certain communication callouts in the trading volume charts were reported one

second later than the corresponding trading activity and communication tables[.]” (See Ex. D).

Garibotti relayed that the new charts represented a “standardized” timestamp-processing

methodology, but did not disclose what this methodology was, which “communication callouts”

were affected, when it was performed, who performed it, or what data was relied upon for this

“methodology.” See id.

       28.     In other words, notwithstanding Constantinescu’s prior request and the

government’s unequivocal representations that it had no reason to believe that any files were

affected and that the issue would not be relevant at trial, it is now clear that the government’s

failure to properly disclose and identify the specifics and scope of timestamp issues affects


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significant key portions of the government’s anticipated evidence at trial. It is unclear what

records are affected by this problem and how (or even if) that problem was fixed, or if the

government merely changed its trial documents even though the produced, processed data

reflects different times.

        29.     The government still has not disclosed the full nature of the timestamp problem,

nor has the government identified the files affected by its production so defense counsel knows

not to rely on those materials at trial. The government also has not disclosed the nature of the

issue so it can be properly used at trial. This is obvious impeachment material—it goes to the

integrity of the government’s key evidence and the complete failure of its investigators to make

sure that its forensic tools did not compromise the electronic data collected in this case. The full

nature of the problem, the witnesses involved, and the data affected should have been disclosed

leaving sufficient time for defendants to prepare for trial. Instead, the problem continues to be

concealed.

The Government’s Misleading Trading Reports Are Recklessly, If Not Intentionally, Incorrect
                  and Cannot Be Used to Try to Obtain a Conviction

        30.     The government is seeking admission of very dangerous and misleading evidence

that is just completely wrong and should be thrown out wholesale, but at this late date counsels in

favor of dismissal. The government seeks preadmission of this evidence, which if permitted

would allow these demonstrably false “exhibits” to be presented to the jury without the

government having to call the people who created them. These errors are monumental and

staggering.

        31.     Last April, the government promised this Court that it would provide “A+

disclosures” in this case regarding its $114 million calculation, but after two attempts, their key

expert reports purportedly compiled by Garibotti that go to the heart of their proofs remain an



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“F.” The problems are so significant they rise above negligence—if the government were to be

permitted to present this false evidence to a jury, any testimony that it is, in any way, “true and

accurate” would be perjury warranting reversal of convictions.

       32.     For example, the government has provided a revised Exhibit 1 to Garibotti’s

report with demonstrably false profit and loss figures. Compare her June 2023 report adding up

profits for 397 “episodes” to her January 2024 report adding up profits for 54 “episodes”:




       33.     As highlighted, despite the reduction of “episodes” from 397 to 54 and a

reduction in profits by $90 million, the government has increased Hrvatin’s profits from

$661,421 to $4,998,778 and reduced Rybarczyk’s profits from $21,976,374 to $436,890. Yet, a

review of Hrvatin’s 1099-b (the subject of Constantinescu’s first Brady motion [ECF No. 286]),

reveals that this inflated $4.9 million number has no basis in reality.

       34.     But the sloppiness of the government’s A+ report extends further: profit

calculations have been swapped between Defendants. For example, in the government’s KIQ




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“episode” between October 20, 2021, and November 18, 2021, three of nine Co-Defendants are

alleged to have traded this stock and two of the nine are alleged to have tweeted about it

(Hrvatin’s sole tweet is an objectively true tweet where he posts that he had bought the stock

hoping it would increase from 73 cents to a dollar).3 Yet between June 5, 2023, and January 19,

2024, the government has changed significantly how much profit each of the three Defendants

made:

                                         June 2023 Profit Calculations




                                       January 2024 Profit Calculations




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    Sabo was charged separately from this case.


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       35.     Even a cursory glance reveals that in its revised calculations the government has

attributed Rybarczyk’s $145,862 profit to Hrvatin, Sabo’s $577 loss to Knight (who was not

alleged to have traded the stock in the January calculations), Hrvatin’s $9,465 to Hennessey (who

also did not trade it according to the January report), while Rybarczyk is no longer alleged to

have traded the stock.

       36.     These errors, among others, in the government’s profit calculation and

spreadsheets, suggest, at best, gross negligence and, at worst, a concerted attempt to elicit plea

agreements on the eve of trial by altering sentencing exposure at the same time they actively

opposed Constantinescu’s attempt to obtain 1099-b’s that provide authentic and reliable profit

and loss calculations for each Defendant.

       37.     Constantinescu, Matlock, and Hrvatin are not aware of any constitutional,

evidentiary, or procedural rule that permits the government to place knowingly false (purported)

summary evidence before a jury, requiring defense counsel to waste significant time and

resources of the Court and the jury through tedious cross examination.

       38.     In evaluating its significance, the Court should also consider that the profits

calculation was ordered to be produced in March of 2023, nearly a year ago, with a hard

deadline of June 5, 2023 for the report. Nor has the government provided any Brady material

accounting for and justifying the discrepancies in the calculations.

 The Government Has Changed Discord Timestamps on Its Trial Evidence, Did Not Disclose
 This Material Change of Trial Evidence to Defense Counsel, and Marked the Trial Evidence
          with Bates Labels to Make it Appear as If It Was Produced in Discovery

       39.     In addition to altering Twitter data, the government has changed the timestamps

on Discord messages from the times reflected in what the government produced to Defendants in

discovery. The government did not disclose that it changed the times reflected in the electronic

evidence produced in this case, and instead, again, affixed a bates label to its trial exhibits to


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make it appear (both to defense counsel and, presumably, to the jury) that the government’s trial

exhibits were screenshots of actual evidence that was produced in this case when, in fact, they

are not.

           40.   By way of example, Government Exhibit 17D, purports to display Discord

messages between Defendants Deel, Cooperman, and another individual. These timestamps

have changed between the previously produced trial exhibits and the new January 19, 2024 trial

exhibits by one hour, and two additional lines have been added to the message:




           41.   Like the other examples above, both versions of Government Exhibit 17D bear a

bates stamp as if this data came directly from the government’s production of materials it

received and processed from Discord. Moreover, the file contains metadata revealing that a

government paralegal changed the times on the document from 10:00 am to 11:00 am on

November 17, 2023.




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       42.    A review of the Discord data that the government produced in discovery reflects

that Exhibit 17D is not from the Discord production and, in fact, the government changed

completely the timestamp that appears on the data, which displays the date and time in a

completely different manner and reflects the time as 14:17:31 (2:17:31 pm):




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       43.     The government cannot change the times displayed in the original evidence

produced in this case merely because it wants its evidence to look better than the way the data

appears, and certainly cannot do so while concealing its actions from defense counsel. The

government’s pervasive case-wide alteration of its trial evidence to look more appealing for the

prosecution warrants severe sanctions, including dismissal of this case.

                                        CONCLUSION

       For all the foregoing reasons, as well as those outlined in: Constantinescu’s Motion to

Continue Trial Date and for Order to Show Cause Why the Government and Securities and

Exchange Commission Should Not Be Held in Contempt for Failing to Disclose Brady Material,

as well as his Reply in further support thereof; Defendants’ Joint Motion for Discovery

Sanctions; and Defendant Matlock’s Motion to Exclude Government’s Exhibit 70, Defendants

Constantinescu, Matlock, and Hrvatin respectfully request that the Court dismiss this case.




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Dated: February 12, 2024                    Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served on all counsel of

record via the Court’s CM/ECF system.



Dated: February 12, 2024

                                                     /s/ Matthew A. Ford
                                                     Matthew A. Ford




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